Case 1:04-cv-10981-PBS Document 1658-6 Filed 02/06/09 Page 1 of 8




            EXHIBIT 4
      Case 1:04-cv-10981-PBS Document 1658-6 Filed 02/06/09 Page 2 of 8


                                                                          99
 1   relevance and then we have matched them up and down a
 2   validation study, in that context only, with a full
 3   team of experts.
 4        Q        Have you ever designed a post market --
 5   have you ever designed post-marketing safety
 6   surveillance for any pharmaceutical company?
 7        A        No, I've not developed pharmaceutical SOPs.
 8   I've developed guidance from industry from the FDA
 9   perspective, I've worked on those.                But not within
10   companies.
11        Q        Which guidance did you work on that would
12   be relevant to pharmacovigilance and safety
13   surveillance?
14        A        I've worked on -- actually, I was the
15   co-author of the original draft of the pregnancy
16   registry guidance document.            I started that while I was
17   at the FDA and then they paid me as a consultant
18   afterwards.
19                 I also worked at the very beginning on the
20   original concept and drafts of the good
21   pharmacovigilance -- what became the good
22   pharmacovigilance and pharmacoepi guidance document.
23        Q        That's the guidance from 2005?
24        A        Right.     I worked way early on the very,
25   very beginning of that document.


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      Case 1:04-cv-10981-PBS Document 1658-6 Filed 02/06/09 Page 3 of 8


                                                                             289
 1   zeros here.     Zero percentages.
 2        Q        No, that means there are no suicidal and
 3   self-injurious reports -- no serious for psychiatric
 4   conditions at that point in time?
 5        A        Thank you.
 6        Q        It's zero.       It's not zero over zero.            It
 7   means zero.     It's not undefined.            It's zero.
 8                 Anyway, but at every point after 1999 the
 9   percentage for psychiatric conditions is higher,
10   correct, than any of the other indications?
11        A        After 1999?
12        Q        June 30th of '99, that data point.
13   Everything is higher, correct?
14        A        The percentages are higher for that
15   subgroup.
16        Q        Now, is one explanation for that
17   observation that these are people with psychiatric
18   conditions and people with psychiatric conditions tend
19   to commit suicide more than people with these other
20   conditions?
21        A        I would say very strong possibility.
22        Q        That's one possibility?
23        A        That they have a lot of underlying
24   conditions.     They may be treated because of that very
25   reason.


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      Case 1:04-cv-10981-PBS Document 1658-6 Filed 02/06/09 Page 4 of 8


                                                                             290
 1        Q         That's correct.
 2        A         High risk.
 3        Q         That's what we talk about with confounding
 4   indication, correct, confounding by indication; is that
 5   correct?     That's what you were talking about?
 6        A         Yes.
 7        Q         Now, is another possible explanation that
 8   Neurontin had no efficacy for these people and so
 9   basically you were dealing with people who had
10   psychiatric conditions who were not receiving any
11   treatment and they committed suicide?
12                  MR. BARNES:       Objection.        Assumes facts not
13   in evidence and --
14        A         It's way beyond what I can take from this
15   chart.     We don't have anything about efficacy.                  We
16   don't have anything about whether they're on other
17   treatments.     And I would expect a lot of them are on
18   other drugs, from what I've seen.
19        Q         I just asked if one possibility is that
20   Neurontin is not efficacious for these people?
21        A         It's so far beyond what this shows, that's
22   a real big leap.
23        Q         Is it a possibility?
24                  MR. BARNES:       If you --
25        A         For everybody?         I can't imagine.


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      Case 1:04-cv-10981-PBS Document 1658-6 Filed 02/06/09 Page 5 of 8


                                                                            321
 1   okay is run your data mining and simply put your stuff
 2   on the shelf --
 3                 MR. BARNES:        If you have an opinion.
 4        A        I can't make an opinion like that because
 5   you're talking in general and things are evolving even
 6   as we speak on how data mining is best used.
 7                 So things are evolving now and that's a
 8   good question that I don't think we have been able to
 9   answer yet as an industry on how to deal with data
10   mining.
11        Q        For your -- when you access Q Scan, is that
12   through a web site?        Do you go into your log-in and you
13   can run your analyses?
14        A        That's correct.
15        Q        And you can download some of that data or
16   computations or whatever that it produces?
17        A        It's an application.             It has software on it
18   to do statistics, that's all it is.
19        Q        How is the output given to you?
20        A        It depends on what you're looking at.
21        Q        The first time you provided us some Excel
22   spreadsheets of data that formed part of the basis of
23   your report, do you recall that?
24        A        I believe I gave you the raw counts that
25   were used to calculate the PRRs, yes.


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      Case 1:04-cv-10981-PBS Document 1658-6 Filed 02/06/09 Page 6 of 8


                                                                                  322
 1        Q         Did you generate charts similar to that
 2   when you did your analyses in your supplemental report?
 3        A         Did I for here?         No.
 4        Q         For your supplemental report?
 5        A         No, I didn't.        Raw data.
 6        Q         How did you actually -- the charts that are
 7   in your supplemental report, did those come straight
 8   from Q Scan or do you actually have to make those
 9   charts?     I'm talking about ones on the PRR?
10        A         Which -- give me an example, which one?
11        Q         Your supplemental report.              Let's take on
12   page 22?
13        A         Figure 1?
14        Q         Figure 1, yes.
15        A         So I get the statistic, the PRR statistic,
16   and I put it in an Excel spreadsheet and I plotted it
17   in Excel.
18        Q         I mean, did you hand write that stuff from
19   Q Scan or did you download a chart or something?
20        A         I believe I downloaded a delimited file to
21   a data file.
22        Q         Do you still have those files?
23        A         Probably not.        They're raw files.             I would
24   just recalculate it.
25        Q         Okay.    Did you write out a formal protocol


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      Case 1:04-cv-10981-PBS Document 1658-6 Filed 02/06/09 Page 7 of 8


                                                                          329
 1   And I believe we are out of time much to your chagrin.
 2   I thank you for your time and I just want to put on the
 3   record that, once again, I did not have the opportunity
 4   to access Q Scan data.         I don't know what that access
 5   would do in terms of my desire to ask questions of this
 6   witness and so under the MDL we're entitled to two days
 7   and under the California rules there's no time limit.
 8   And therefore I'll hold this deposition or I'll adjourn
 9   this deposition for now pending my review of that
10   information which may require some further examination
11   of this witness.
12                 MR. BARNES:        Okay.      Well, I think what I
13   would ask you to do is put your request -- precise
14   request to us in writing and we will respond as to the
15   Q Scan data, what your current request is and we'll are
16   consider it and go from there.
17                 MR. ALTMAN:        That's good.
18               EXAMINATION BY MR. BARNES:
19        Q        One question of the witness before we
20   conclude.    Very early in the deposition Mr. Altman
21   asked you a question regarding the scientific rigor in
22   which you prepared your report and you stated that you
23   used the same, I'll paraphrase, it, the same scientific
24   rigor that you would use in doing your other
25   professional work except you didn't have as many hands


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      Case 1:04-cv-10981-PBS Document 1658-6 Filed 02/06/09 Page 8 of 8


                                                                              330
 1   to look at the references, what did that mean?
 2        A        It means that this did not go through a
 3   formal peer review process.            So if I write a paper,
 4   one, I'll have usually many co-authors.                  So everyone
 5   gets to review that and then I have a -- an editor
 6   in-house that will go through and edit.                  And then when
 7   I submit it to a journal for publication, it gets sent
 8   out to at least two, three, four peers that go through
 9   every aspect of the paper.
10        Q        In that process from time to time do they
11   find typos and errors within the draft manuscript?
12        A        No matter how many times you write and
13   rewrite it, there's always something, yes.                    They are
14   noticed.    Then also if it's accepted the journal has
15   editorial staff that again go through it and sometimes
16   you'll find them.
17        Q        So that's the difference?
18        A        And then proofs.           There's many, many steps
19   in the process to make sure.
20        Q        So the error that Mr. Altman pointed out
21   this afternoon is something that would perhaps come to
22   light during the normal peer review and editing process
23   that you do in your normal scientific and research
24   activities, correct?
25        A        Absolutely.        Very minor typos or things


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